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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION


  CONSUMER FINANCIAL
  PROTECTION BUREAU, et al.,
               Plaintiff,                        No.: 5:21-cv-00016-EKD-JCH

                 v.

  NEXUS SERVICES, INC., et al.,
                    Defendants.
      DEFENDANTS’ MEMORANDUM IN REPLY TO PLAINTIFFS’
    OPPOSITION TO MOTION TO STAY EXECUTION OF JUDJMENT
                             INTRODUCTION

          Plaintiffs challenge in part the demonstration of likelihood of success

  pointing out, “[t]o begin, in this motion, Defendants only seek to stay certain

  injunctive provisions of the Judgment, so it does not matter whether they are likely

  to succeed on appeal of the monetary award.” ECF Doc. No. 255 at 141

  (“Plaintiff’s Opposition” or “Oppo. Mem.”). Defendants do not necessarily

  disagree with this assertion; it is for this reason, that Defendants addressed

  arguments which, if accepted, would reverse either the entrance of the judgment




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      Defendants utilize the header stamp page number rather than internal pagination.

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  (containing the injunctions)2 or to the extent provisions were injunctive the

  injunctions themselves.3

        Next, and addressing the injunctive or equitable relief, much of the

  Defendants arguments address the lack of clarity in what may or not be equitable

  and what may or may not be enforceable through contempt; take the “restitution,”

  it is less than clear that it is in fact a monetary judgment because it is ordered

  payable on ten days. Cf. Fed. R. Civ. P. 62(a). Indeed, restitution is not necessarily

  determined based on the name or title given to it, but must be interpreted by the

  nature of the relief and how the Court structures the relief.4 Moreover, it was for

  this reason, the appearance of being equitable, that the Seventh Circuit reversed the

  calculation in Consumer Fin. Prot. Bureau v. Consumer First Legal Grp., LLC.

  Defendants sought to this provision to the extent it was equitable—again, the

  requirement that it be paid prior to the 30-day automatic stay created confusion.

  See ECF Doc. No. 246 at ¶¶ 20, 21.


  2
    See generally ECF Doc. No. 250 at 13-17.
  3
    For instance, in addressing restitution ordered Defendants only sought to stay the
  provision to the extent it was to be considered injunctive or equitable, i.e.,
  enforceable by contempt. See ECF Doc. No. 249 at 2, ¶ 4. It appears as if the
  Plaintiffs believe that such is not equitable and have argued as much, see Oppo.
  Mem. at 15, although appear to have some sympathy to Defendants’ view. See
  Oppo. Mem. at 20, n. 96.
  4
    See generally, Consumer Fin. Prot. Bureau v. Consumer First Legal Grp., LLC, 6
  F.4th 694, 711 (7th Cir. 2021) (“The district court understood itself to be awarding
  equitable relief, which is why it cited equitable restitution cases in support of its
  order”).

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        Finally, to address the injunctive relief specifically, Defendants would be

  perfectly happy were the injunctive and equitable relief awarded limited to that

  which Plaintiffs had requested in their trial brief and addressed; indeed, such would

  encompass and address many of the concerns which Defendants have and result in

  the relief Plaintiffs desire. See generally Donovan Decl. The injunctive relief

  awarded, however, is significantly broader than that requested or briefed. Id.

                              STATEMENT OF FACTS

        Very briefly, the following was the injunctive relief requested:

     Here, the injunctive relief sought by Plaintiffs is appropriately tailored to the
     specific deceptive, abusive, and unfair acts of Defendants that give rise to
     Plaintiffs’ claims on behalf of consumers. In particular, Plaintiffs request that
     the Court:
     • Enjoin Defendants from making material misrepresentations or omissions
        with respect to the nature and scope of the services provided by Defendant
        Libre, including misrepresentations regarding whether payments are applied
        to the consumers’ immigration bonds, Libre’s affiliation with ICE, and the
        provision of legal services to consumers. Defendants’ misrepresentations
        form the factual basis for Counts 1, 2, 8, 9, 10, 11, 12, 13, 15, and 17 of the
        Complaint.
     • Require Defendants to provide all consumers and prospective consumers
        with clear and accurate contracts, presented in a language accessible to the
        consumer, that include conspicuous disclosures of the fees charged by Libre
        and advising consumers that Libre will not report consumers to law
        enforcement for non- payment of fees or non-compliance with the contract.
        These requirements would prevent Defendants from harming consumers
        through misleading and abusive contract terms as set forth in Counts 1, 2, 9,
        10, 11, 12, 13, 15, 16, and 17.
     • Enjoin Defendants from requiring GPS monitors as a term of any consumer
        contract. Defendants' deceptive and abusive use of GPS devices is detailed
        in Counts 2, 6, 10, 11, 12, 13, 15, 16, and 17.




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     •   Enjoin Defendants from collecting any payments related to GPS monitors.
         Defendants' deceptive and abusive use of GPS devices is detailed in Counts
         2, 6, 10, 11, 12, 13, 15, 16, and 17.
     •   Enjoin Defendants from collecting monies in connection with the Original
         Agreement, from collecting monies not owed, and from retaining money
         owed to consumers, as set forth in Counts 1, 7, 9, 10, 11, 12, 13, 14, 15, and
         17.
     •   Enjoin Defendants from making material misrepresentations with respect to
         non-
     •   payment of fees or non-compliance with the contract, including
         misrepresentations regarding selling consumers' debt, as set forth in Counts
         3, 10, 11, 12, 14, 15, and 17; misrepresentations regarding providing
         negative information to credit reporting agencies, as set forth in Counts 4,
         10, 11, 14, 15, and 17; and misrepresentations regarding bringing debt
         collection actions against consumers, as set forth in Counts 5, 10, 11, 14, 15,
         and 17.
     •   Enjoin Defendants Nexus Services, Inc., Micheal Donovan, Richard Moore,
         and Evan Ajin from engaging in or providing substantial assistance to any
         deceptive or abusive acts or practices by Defendant Libre, as set forth in
         Count 10.

         ECF Doc. No. 216 at 39-40

         These requests differ significantly from what was ordered by the Court. See,

  e.g., ECF Doc. No. 246 at ¶ 17(a) (enjoining collecting any monies from any

  agreements from December 1, 2013 to April 1, 2024 rather than monies relating to

  “original contract”); ¶ 19(b) (enjoining sale or transfer of any right to collect

  payment from any contract, not limited by time, to any other party, rather than any

  injunctive relief requested); ¶ 75 (mandating “as a condition of sale, obtain the

  written agreement of the transferee or assignee to comply with all applicable

  provisions of this Order[,]” rather than any injunctive relief requested).




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        The point here being, that the provisions Defendants seek to have stayed are

  the provisions that were not requested by Plaintiffs. Compare ECF Doc. No. 216 at

  39-40, with ECF Doc. No. 249 at 2-3. Indeed, Defendants do not seek to collect

  monies under the original contract. ECF Doc. No. 249. Nor do they seek to utilize

  GPS devices or collect payments for the same. Id. Nor do they seek to avoid

  provide contracts in a particular language or with particular disclosures. Id. The

  relief sought does not involve an immunity from consumer protection law. Id.

  Indeed, Defendants seek the opposite, and limit their requests generally to the

  extent that the provisions are unclear or would prevent certain legal activities:

     1. Injunctive provisions contained in paragraph 17(b) to the extent it requires
        Defendants to release, or transfer, or otherwise alienate all money owed
        pursuant to judgment;
     2. Injunctive provisions contained in paragraph 17(a) to the extent that it
        enjoins Nexus Companies from receiving payments in the normal course of
        business that become due after the Effective Date;
     3. Injunctive provisions of paragraph 19(a) and (b) to the extent that they would
        enjoin a sale of Nexus Companies to a third party;
     4. Injunctive provisions of paragraphs 21, 29, 34, 38, 43 to the extent they are
        considered injunctive in nature and not part of a monetary judgment subject
        to Federal Rules of Civil Procedure 62(a);
     5. The application of paragraph 54 to the extent it requires reporting of
        developments prior to their existence;
     6. The application of paragraph 56 to the extent it requires reporting of change
        prior to their existence;
     7. The application of paragraphs 59, 61, and 62;
     8. The application of paragraph 65 to the extent it requires the creation of a
        new centralized record keeping system; and
     9. The application of paragraph 69.

     Id. at 2-3 (emphasis added).



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     The stay Defendants seek is generally in line with what was originally

  requested and to a large extent is simply to ensure that contempt does not occur

  because a lack of clarity present in certain provisions. See Donovan Decl. Indeed,

  many of the requests are imminently reasonable: Paragraph 54 requires:

     Defendants must notify the CFPB, Virginia, Massachusetts, and the NYAG, of
     any development that may affect compliance obligations arising under this
     Order, including but not limited to, a dissolution, assignment, sale, merger, or
     other action that would result in the emergence of a successor company; the
     creation or dissolution of a subsidiary, parent, or affiliate that engages in any
     acts or practices subject to this Order; the filing of any bankruptcy or
     insolvency proceeding by or against a Defendant; or a change in a Defendant’s
     name or address. Defendants must provide this notice at least 30 days before
     the development, but in any case no later than 14 days after the development,
     whichever is sooner.

     ECF Doc. No. 246 at 18 (emphasis added). Taken literally it would require

  notice to be provided of “development[s]” relating to a sale 30 days prior to that

  development—30 days before the development will always be sooner than 14 days

  after—which could result in contempt, if for instance developments were very

  rapidly occurring, or one lacked knowledge of them 30 days before they

  developed. Defendants sought only to limit this to the extent that it would require

  foreknowledge or report of the event prior to existence. See ECF Doc. No. 249.

     All of these requests are aimed both at allowing survival and preventing

  contempt by providing clarity. See Donovan Decl. Further, they are in line with the

  injunctive provisions originally requested and simply narrow the breadth of

  injunctive provisions that appear to have never been requested. Id.


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     Finally, and to clarify, Defendants sought to stay the provisions ordered to be in

  line with those requested and would be perfectly pleased were the Court to stay all

  injunctive relief to the extent that it is broader than that relief requested by the

  Plaintiffs. Id.

                                      ARGUMENT

         I.     PLAINTIFFS FUNDAMENTALLY MISUNDERSTAND WHAT
                WAS REQUESTED STAYED AND WHY.

         On occasions, litigants and courts overstep. When they do so, it is prudent to

  take a modest path and recognize that such might have occurred. It is for this

  reason, and only to the extent that Defendants believe the Court has overstepped,

  that Defendants ask for a stay to prevent irremediable harm. See Hilton v.

  Braunskill, 481 U.S. 770, 776 (1987). This is the very reason why stay pending

  appeal exist and because of this that Defendants have not sought to undermine the

  injunctive relief actually requested by Plaintiffs. See generally ECF Doc. No. 216

  at 39-40; see also ECF Doc. No. 249 at 2-3.

         II.    HILTON HAS NOT BEEN OVER-RULED AND A LESSENING
                OF THE WEIGHTINESS OF A REQUIRED SHOWING IS NOT
                IDENTICAL TO REQUIRING NO SHOWING.




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        Hilton5 has not been over-ruled, and certainly has not been over-ruled by

  caselaw of the Fourth Circuit and is regularly cited by this Court in post-Winter

  jurisprudence:

        “Since the traditional stay factors contemplated individualized judgments in
        each case, the formula cannot be reduced to a set of rigid rules.” Hilton v.
        Braunskill, 481 U.S. 770, 777 (1987). Accordingly, “[t]he court need not
        give these factors equal weight, but should consider all of the factors in light
        of the circumstances surrounding the injunction.” MicroStrategy, Inc. v.
        Bus. Objects, S.A., 661 F. Supp. 2d 548, 558 (E.D. Va. 2009). Although the
        Fourth Circuit has not addressed the issue directly, many sister circuits treat
        the first two factors as a sliding scale, requiring a less rigorous showing of
        likelihood of success on appeal in the face of a compelling showing of
        irreparable harm. Id. (collecting cases). Absent a showing of likelihood of
        success on appeal, a movant must, at the very least, “demonstrate a
        substantial case on the merits,” irrespective of the degree of irreparable
        harm. ePlus Inc. v. Lawson Software, Inc., 946 F. Supp. 2d 503, 507 (E.D.
        Va. 2013) (quoting Hilton, 481 U.S. at 778) (internal quotations and
        citations omitted). But see Combs v. FV–1, Inc., No. MJG–13–3734, 2013
        WL 6662729, at *2 (D. Md. Dec. 16, 2013) (“[Movant] must satisfy each
        element for relief.”).

        RLI Ins. Co. v. Nexus Servs. Inc., No. 5:18-CV-66, 2020 WL 7407466, at *2

  (W.D. Va. Dec. 17, 2020); see also Fitzgerald v. Alcorn, No. 5:17-CV-16, 2018

  WL 709979, at *1 (W.D. Va. Feb. 5, 2018).

        Indeed, Nken,6 decided after Winter7 relied on Hilton. Nken v. Holder, 556

  U.S. 418, 425-426 (citing Hilton, 481 U.S. 770).




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    481 U.S. 770.
  6
    Nken v. Holder, 556 U.S. 418 (2009)
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    555 U.S. 7 (2008).

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        Defendants merely argued that in a stay analysis where one showing is

  shown with great weight the other showings need be shown to a lesser weight—

  this is the law this court has continued to follow and holdings of the Fourth Circuit

  relating to preliminary injunctions and the prior Blackwelder8-test have in no way

  changed this. See generally Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013)

  (addressing injunctions and Blackwelder); see also Mountain Valley Pipeline, LLC

  v. 6.56 Acres of Land, Owned by Sandra Townes Powell, 915 F.3d 197, 215 n.7

  (4th Cir. 2019) (same).

        III.   MERITS AND THEIR RELEVANCY TO INJUNCTIVE
               PROVISIONS.

        Briefly, Defendants sought to present an idea of the arguments that they will

  present on appeal; they did not seek to be verbose or to list every issue which

  would affect the viability of the injunctive provisions they sought to stay. They,

  rather, raised a select group of arguments which they believe would have prevented

  the entrance of the judgment in toto and such were sufficient to satisfy the

  applicable standard, see generally, supra; see also ECF Doc. No. 250 at 13-17

  (demonstrating substantial questions on appeal).

        IV.    TO THE EXTENT PLAINTIFFS WISH TO ADDRESS THE
               SPECIFIC INJUNCTIVE PROVISIONS DEFENDANTS WILL
               DO SO.


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   Blackwelder Furniture Co. of Statesville, Inc. v. Seilig Mfg. Co., 550 F.2d 189,
  196 (4th Cir.1977)

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         To begin, certain injunctive provisions are impossible to comply with

   literally, and clearly would enjoin perfectly legal behavior. See, ECF Doc. No. 246

   ¶¶ 54, 56 (presumably requiring substantial delay to allow for thirty-day prior

   notice if events unfold unexpectedly or quickly). For that reason, Defendants

   would contend that they are not clear and are overly broad. Defendants solely seek

   clarity in their request to stay these provisions.

         Moreover, certain provisions appear to be clearly broader than that relief

   which was requested by Plaintiffs. Compare ECF Doc. No. 216 at 39-40

   (requesting injunction of collection of monies relating to Original Agreement and

   GPS devices), with ECF Doc. No. 246 at ¶ 17(a) (enjoining collection of monies

   relating to any agreement existing between December 1, 2013 and April 1, 2024).

         Federal Rules of Civil Procedure 65(d) applies to all “equitable decree[s]

   compelling obedience under the threat of contempt.” International

   Longshoreman's Ass'n, Local 1291 v. Philadelphia Marine Trade Ass'n., 389 U.S.

   64, 75 (1967); see also Vaughn v. Amprey, 117 F.3d 1415, No. 97-1507, 1997 WL

   378068 (4th Cir. 1997); Consumers Gas & Oil v. Farmland Industries, Inc., 84

   F.3d 367, 370 (10th Cir. 1996) (the term “injunction” is not to be read narrowly but

   includes all equitable decrees compelling action under threat of contempt)

   (emphasis added). Because these are apparently orders enforceable by contempt

   the objective provisions must comply with Rule 65.



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         First, it is well-settled that “[i]n granting injunctive relief, the court's remedy

   should be no broader than necessary to provide full relief to the aggrieved

   plaintiff.” McLendon v. Continental Can Co., 908 F.2d 1171, 1182 (3rd Cir. 1990)

   (citing Ameron, Inc. v. U.S. Army Corp. of Engineers, 787 F.2d 875 (3rd Cir.

   1986), on reh'g, 809 F.2d 979, cert. granted, 485 U.S. 958, cert. dismissed, 488

   U.S. 918 (1988)) (emphasis added).

         An injunction “should be tailored to restrain no more than what is
         reasonably required to accomplish its ends.” Consolidation Coal Co. v.
         Disabled Miners, 442 F.2d 1261, 1267 (4th Cir.), cert. denied, 404 U.S. 911,
         92 S.Ct. 228, 30 L.Ed.2d 184 (1971). Although injunctive relief should be
         designed to grant the full relief needed to remedy the injury to the prevailing
         party, it should not go beyond the extent of the established violation.

         Hayes v. N. State L. Enf't Officers Ass’n, 10 F.3d 207, 217 (4th Cir. 1993)

         The injunctive relief here was broader than that requested—the Plaintiff’s

   requested the injunctive relief they desired to remedy the wrongs they believe they

   suffered and much broader relief was granted—Defendants seek to stay that relief

   to the extent that it is overly broad, i.e., beyond the scope of what Plaintiffs

   believed they required. See Donovan Decl.; see also ECF 249. Moreover, the

   injunctive provisions Defendants seek to stay appear to be overbroad because they

   enjoin acts and potential acts that were not adjudicated by the Court and require or

   bar acts that go well beyond the conduct that the Plaintiff’s argued to be wrongful

   and the Court found unlawful; for instance, the sale of assets or creation of a new

   record keeping system not currently existing. See ECF Doc. No. 246 at ¶¶ 19, 65,

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   75. “In accord with the policy of [Rule 65(d)], the Supreme Court does not

   countenance overly broad injunctions due to the threat of costly contempt

   proceedings for acts unrelated to those originally judged unlawful.” Additive

   Controls & Measurement Sys., Inc. v. Flowdata, Inc. , 986 F.2d 476, 479 (Fed Cir.

   1993) (citing NLRB v. Express Pub. Co., 312 U.S. 426, 435-36 (1941)) (emphasis

   added).

          Beyond that courts routinely find injunctions overbroad where the

   injunctions prohibit lawful conduct. Mallet & Co. v. Lacayo, 16 F.4th 364, 389

   (3rd Cir. 2021) (“The description of the conduct enjoined should be narrowly

   tailored to reach only those acts that closely relate to the unlawful conduct giving

   rise to an entitlement to injunctive relief ... The injunction order here is

   problematic because it extends the scope of the injunction to reach what appears to

   be lawful conduct.”) (emphasis added); Roton Barrier, Inc. v. Stanley Works, 79

   F.3d 1112, 1121-22 (Fed. Cir. 1996) (reversing a preliminary injunction that

   completely prohibited a competitor from lawfully buying and reselling competing

   products); E.W. Bliss Co. v. Struthers-Dunn, Inc., 408 F.2d 1108, 1113-17 (8th Cir.

   1969) (setting aside a preliminary injunction for restraining otherwise lawful

   activity).




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         These injunctive provisions prevent what would be an otherwise lawful sale

   for no apparent reason and in contradiction with other provisions that appear to

   allow for such a sale to occur. See generally ECF Doc. No. 246 ¶¶ 19, 75.

         In addition to being overbroad, the Court’s injunctive provisions also violate

   Rule 65(d) because they are too vague, often confusing, occasionally contradictory,

   and the meaning of key terms is unknowable. See, e.g., id. at ¶¶ 54, 56. Defendants

   are unable to understand the scope of the due to the nondescript and general

   language—this is true for key terms. See, e.g., Id. at ¶¶ 75(requiring compliance

   with unspecified “applicable provisions”).

         Moving forward, Rule 65 provides that every order granting injunctive relief

   “shall set forth the reasons for its issuance…” See also SEC v. Fundpack, Inc., 666

   F.2d 612 (D.C. Cir. 1981); Alberti v. Cruise, 383 F.2d 268, 271-72 (4th Cir. 1967).

   The Court’s reasoning for exceeding the scope of the relief requested is wholly

   unclear and certainly the reasons for such are not set forth with clarity. See

   generally ECF Doc. Nos. 246, 247.

         V.     PLAINTIFFS MISS THE MARK ON EQUITIES AND
                IREPPARABLE HARM; MOREOVER, THEIR PREVIOUS
                REPRESENTATIONS AND REQUESTS BELIE THEIR
                ARGUMENTS.

         Plaintiffs contend that were the stay granted it would cause great harm and

   inequity—the irony of this is that the provisions Defendants seek to stay are not

   those briefed or requested. See Oppo. Mem. at 21. Indeed, had the Plaintiffs

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   wished for this injunctive relief or believed it required to prevent irreparable harm

   presumably they would have requested it. See generally ECF Doc. Nos. 1, 216,

   222. Beyond this, it is telling that the Plaintiffs do not address the specific

   provisions which Defendants request (often with limitations stayed). See generally

   Oppo. Mem. at 9-10 (describing broad swaths of order in generalities rather than

   the exact provisions and the extent to which Defendants sought them stayed).

         The reason for this is because much of it would be absurd, had they

   attempted to explain what they were actually opposing.

         For instance, the Plaintiffs cannot state that requiring the report of certain

   developments (prior to their existence) would create harm; indeed, reporting such

   as soon as practicable “and in no event no later than 14 days after the

   development[,]” cannot reasonably be argued inequitable. See ECF Doc. No. 249

   (requesting exactly this for paragraphs 54 and 56). This is what Defendants

   request, to take an injunction that in many cases might be impossible to literally

   preform, and in the case of the sale was—Defendants could not have reported the

   existence of an interested buyer 30 days prior to such existing or having knowledge

   of the same, nor indeed could they have reported the sale 30 days prior to its

   occurrence (the closing of the sale occurred on April 19, 2024 and Defendant’s had

   no knowledge that it would occur until April 9, 2024 when the first meeting

   occurred relating to it). See Donovan Decl.



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              Likewise, staying the payment of monies, to the extent they are considered

   “injunctive,” only seeks to ensure that if those provisions are not considered money

   judgments, and are equitable in nature, are temporarily stayed if injunctive to avoid

   contempt—it was generally prophylactic due to the lack of clarity; if those are

   money judgments, the Defendants have requested virtually nothing. See ECF Doc.

   No. 249 (requesting that relief).

              In the same way, they seek to ensure that they need not create from scratch a

   new centralized recordkeeping system. Id. This is not seeking to destroy records,

   nor to avoid any provision of consumer protection law, nor to harm consumers, but

   to simply ensure that a new system need not be created for a very modest period of

   time.

              Defendants seek to stay “17(a) to the extent that it enjoins Nexus

   Companies9 from receiving payments in the normal course of business that become

   due after the Effective Date[.]” This would generally be in line with the Plaintiff’s

   requested relief which would have prevented the collection of monies relating to

   GPS practices, the “Original Contract,” etc., in other words the exact injunctive

   relief Plaintiffs sought and now argue is inappropriate.

              VI.     THE SEVENTH CIRCUIT’S HOLDING AND DAMAGES




   9
       Defendants refer to Libre by Nexus, Inc. and Nexus Services, Inc. as “Nexus Companies” throughout.


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         Defendants sought to stay the provisions relating to payment of monies to

   the extent they were equitable or injunctive; if they were, a not insane guess

   because they were due in 10 rather than 30 days, then they were miscalculated. See

   generally Liu v. SEC, 591 U.S. 71(2020) (rejecting net-profit calculation); see also

   Consumer First Legal Grp., LLC, 6 F.4th at 710-11 (reversing restitution based on

   net profits where it was not clear whether the district court was issuing legal or

   equitable relief). That is not a wild argument, but one based on holdings of the

   Supreme Court and based in the logic of the Seventh Circuit’s holding in

   Consumer First Legal Group.

         In that case, the Seventh Circuit looked at the Court’s award and determined

   that the Court may have considered it equitable because as legal relief it would be

   nonsensical to have cited to caselaw dealing with equitable restitution and to utilize

   the term disgorgement as interchangeable with restitution. 6 F.4th at 710-11. If the

   restitution in this case was for “damages,” or in other words a money judgment

   awarded at law rather than equitable relief, it would have been payable on 30 days

   and up until that point would have been automatically stayed pursuant to Rule

   62(a). The Court apparently did not believe it subject to this provision and thus,

   Defendants assumed the Court must have meant it to be equitable relief.10



   10
     It would be more sensical for a Court to be unfamiliar with little-known case law
   rather than a provision of the FRCP.

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         That in essence is the Plaintiff’s argument. To the extent it was not equitable

   relief, there is still a very legitimate question as to whether or not the damages

   were correctly calculated. See generally ECF Doc. No. 221 at 13-15 (citing

   Complaint at ¶¶ 23, 35-36, 119, 242)); see also id. at 17-18 (noting, inter alia that

   plaintiffs must first demonstrate that the net profits are reasonable approximations

   of consumer loss and that such would be an inappropriate finding in this case).

   Here despite the fact that Defendant’s defaulted there was evidence in the record

   that went to the benefits received by Nexus Companies clients. Ibid. The facts

   alleged in the Complaint were considered true. Those facts related that Nexus

   Companies in essence acted as an intermediary facilitating the release of people

   desperate for release. Id. at 13-15. Those people did have bonds secured for them.

   See id. Those people did get released. See id. Those people did get the very thing

   they were desperate for. Id.

         While, were this a case involving a normal financial transaction or a normal

   Defendant it is highly likely that there would be consumers who would not have

   received the main benefit of their bargain, here, there was no question that Nexus

   Companies secured the very thing consumers desired. Id.

         The matter was briefed, and the argument need not be repeated here, but the

   entire point being that where generally gross earnings minus refunds may

   approximate loss, such was inappropriate in this case, because here there was no



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   question that consumers received the very services and result which they sought,

   namely the issuance of a bond and freedom from immigration detention.

            VII. THE DEFENDANTS SEEK MODEST STAYS OF INJUNCTIVE
                 PROVISIONS THAT WILL DO NO HARM AND AVOID
                 NEEDLESS CONTEMPT HEARINGS ALLOWING A
                 BUSINESS TO CONDUCT LAWFUL TRANSACTIONS.

            The Defendants have stated that they would be happy to accept the

   injunctive provisions as originally requested—those provisions, based on previous

   arguments should be considered more than adequate to prevent irreparable harm.

   See generally ECF Doc. No. 216 (arguing for such relief).

            Indeed, it is difficult to understand why Plaintiffs would not have requested

   the relief the Court ultimately granted had they believed it necessary or

   appropriate. There is now a great likelihood that a fragile transaction will falter

   doing no one any good based on injunctive provisions which likely run afoul of

   Rule 65. See generally ECF Doc. No. 250. Moreover, and more foundationally, it

   is unclear that a judgment should have ever been entered. Ibid.

            While Defendants do not wish to continue arguments forever, the entire

   thrust of their motion was that there existed substantive questions on appeal that

   support the issuance of a stay and that such would represent de minimus harm at

   best to Plaintiffs; Plaintiffs cannot readily, or credibly, argue otherwise without

   answering why they failed to request the very broad relief actually granted by the

   Court.

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         Moreover, the harms that Defendants will suffer are close to certain, one of

   which including contempt, the others involving debilitating injunctive provisions

   which appear better tailored to ensure the failure of a business rather than to

   prevent harm—indeed, to the extent that the provisions prevented a sale (again it is

   unclear to Defendants whether or not this was the case), it appears that the

   provisions at issue were designed to ensure failure and dissuade any investor or

   purchaser from acquiring the business. See generally ECF Doc. No. 246 at ¶¶ 17,

   19, 75. It is this, the death of a business, whether that be Nexus or Libre

   Immigration Services, Inc. which Defendants seek to prevent.

                                     CONCLUSION

         Defendants have requested an extremely reasonable stay of specific

   provisions of injunctive relief, this should occur under the applicable standard set

   forth in Hilton.

   Dated: May 2, 2024                             Respectfully submitted,

   Washington, DC                                 /s/Zachary Lawrence

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